   Case 1:25-cv-00955-CKK     Document 20-2   Filed 04/02/25   Page 1 of 2




           Appellate Division of the Supreme Court
                    of the State of New York
                  Second Judicial Department


     I, Darrell M. Joseph, Clerk of the Appellate Division of the
Supreme Court of the State of New York, Second Judicial
Department, do hereby certify that

                  Ethan Jedidiah Herenstein
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on March 4, 2020,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and         according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                              In Witness Whereof, I have hereunto set
                              my hand in the City of Brooklyn on
                              April 1, 2025.




                                    Clerk of the Court


CertID-00223549
    Case 1:25-cv-00955-CKK         Document 20-2         Filed 04/02/25    Page 2 of 2

                                  Appellate Division
                         Supreme Court of the State of New York
                              Second Judicial Department
                                   45 Monroe Place
                                Brooklyn, N.Y. 11201
                                        (718) 875-1300
 HECTOR D. LASALLE                                                          KENNETH BAND
   PRESIDING JUSTICE                                                      MELISSA KRAKOWSKI
                                                                              DEPUTY CLERKS
DARRELL M. JOSEPH
  CLERK OF THE COURT                                                        WENDY STYNES
                                                                           LAUREN G. DOME
                                                                          BRIAN E. KENNEDY
                                                                             January
                                                                           RIAD        7, 2005
                                                                                P. WILLIAMS
                                                                          ASSOCIATE DEPUTY CLERKS

To Whom It May Concern


      An attorney admitted to practice by this Court may request a certificate of
good standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history
may be viewed through the attorney search feature on the website of the Unified
Court System.


        New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the Second Judicial Department.


      Bar examination history is available from the New York State Board of Law
Examiners.


        Instructions, forms and links are available on this Court's website.




                                                  Darrell M. Joseph
                                                  Clerk of the Court




Revised October 2024
